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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SUNIL BHATIA, individually, and derivatively        )
on behalf of MEDVALUE OFFSHORE                      )       Case No. 18-cv-02387
SOLUTIONS, INC.,                                    )
                                                    )
                Plaintiff,                          )       Hon. Robert M. Dow Jr., Presiding
                                                    )
                v.                                  )
                                                    )
RAJU VASWANI, an individual, KARAN                  )
VASWANI, an individual, and ASSIVO, INC.            )
(f/k/a MV OUTSOURCING, INC.), an Illinois           )
Corporation,                                        )
                                                    )
                Defendants.                         )


                           MOTION OF TIMOTHY D. ELLIOTT
                              TO WITHDRAW AS COUNSEL
                         FOR KARAN VASWANI AND ASSIVO, INC.

         Timothy D. Elliott of Rathje Woodward LLC respectfully moves this Court, pursuant to

Local Rule 83.17, to withdraw as counsel for Defendants Karan Vaswani and Assivo, Inc.

(“Defendants”). In support of said motion, Timothy D. Elliott states as follows:

         1.     On April 30, 2018, Timothy D. Elliott entered his appearance for Defendants (Dkt.

8).

         2.     In accordance with Rule 1.16(b) of both the Model Rules of the American Bar

Association and the Illinois Rules of Professional Conduct, the undersigned has concluded that

professional considerations, including considerations under Illinois Rule 1.16(b)(1) and (4)-(7),

including fundamental disagreement between counsel and client, require termination of his

representation of Defendants.




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        3.      The undersigned does not believe that withdrawal at this time will prejudice the

interests of any party and or delay these proceedings. Currently pending before this Court are six

motions. Five of those are fully briefed and under advisement before the Court. The sixth (which

is currently being briefed) does not involve Defendants. The parties are also currently engaged in

fact discovery. Plaintiff has filed a motion to compel, but that motion has not yet been noticed and

there is no briefing schedule set on it.

       4.      Attached to this motion is a Local Rule 83.17 Notification of Party Contact

Information form for Defendants.

       WHEREFORE, Timothy D. Elliott respectfully requests leave to withdraw his appearance

for Defendants Karan Vaswani and Assivo, Inc. and that this Court allow Defendants Karan

Vaswani and Assivo, Inc. the appropriate time to obtain new counsel to enter an appearance.

Dated: February 26, 2021                             Respectfully submitted,



                                                     /s/ Timothy D. Elliott
                                                     Timothy D. Elliott
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